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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                       Case No. 20-cv-13134
    Plaintiffs,                             Hon. Linda V.Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Proposed Intervening Defendant.
__________________________________________________________________/
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__________________________________________________________________/

     PROPOSED INTERVENING DEFENDANT ROBERT DAVIS’
      EMERGENCY MOTION TO INTERVENE PURSUANT TO
               FED.R.CIV.P 24(a)(2) and 24(b).

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      NOW COMES PROPOSED INTERVENING DEFENDANT

ROBERT DAVIS, by and through his attorney, ANDREW A.

PATERSON, and for his Emergency Motion to Intervene Pursuant to

Fed.R.Civ.P. 24(a)(2) and 24(b), states the following:

                    I.   Concurrence Granted In-Part

      Prior to filing the instant motion, on November 26, 2020, pursuant

to Local Court Rule 7.1, counsel for Proposed Intervening Defendant

Robert Davis (“Intervening Defendant Davis”) sought concurrence from

counsel for the Plaintiffs and Defendants.        On November 26, 2020,

Gegory Rohl, counsel for the Plaintiffs responded to Intervening

Defendant Davis’ request for concurrence and Plaintiffs’ counsel

promptly    GRANTED        Intervening     Defendant   Davis’   request   for

concurrence to intervene as a defendant in this matter. (See Plaintiffs’

counsel’s November 26, 2020 email granting concurrence

attached as Exhibit A). However, on November 29, 2020, counsel for

the Defendants DENIED Intervening Defendant Davis’ request for

concurrence, necessitating the need to file the instant motion.




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                             II.    Introduction

      On November 25, 2020, Plaintiffs filed a 75-page five-count

complaint against the Defendants. Amongst the relief sought by the

Plaintiffs is for this Honorable Court to order the Plaintiffs and nonparty

Wayne County to “de-certify the election results” from the November 3,

2020 presidential general election, which Intervening Defendant Davis

cast a lawful vote in. (Compl., ECF No. 1, Pg.ID 73). Plaintiffs essentially

seeks to disenfranchise Intervening Defendant Davis by having his

lawfully cast vote “de-certified” and “not counted” for the race for

President and Vice President of the United States. (Id.)

      Upon reviewing the contents of Plaintiffs’ complaint (ECF No. 1),

Intervening Defendant Davis, as a registered voter in Wayne County,

who lawfully voted in the November 3, 2020 presidential general election

by absentee ballot, immediately sought concurrence from the Plaintiffs

and the Defendants to intervene in this case in order to ensure

Intervening Defendant Davis’ constitutional right to have his lawfully

cast vote counted and certified was recognized and upheld.




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                       III. Law and Legal Analysis

       A. Davis Should Be Permitted To Intervene As Of Right
                   Pursuant to Fed.R.Civ.P. 24(a)(2).

      Intervening Defendant Davis, as registered voter in Wayne

County, who lawfully voted by absentee ballot in the November 3, 2020

presidential general election, is a party with an inherent interest

relating to the subject of this action and whose rights cannot be

adequately represented by the parties in this matter.

      Federal Rule of Civil Procedure 24(a)(2) provides that a court

must permit intervention on timely application by anyone: (1) who

“claims an interest relating to the property or transaction that is the

subject of the action,” and (2) whose interest may be “impair[ed] or

impede[d]” by disposition of the action, “unless existing parties

adequately represent that interest.” Fed. R. Civ. P. 24(a)(2). This Rule

is “broadly construed in favor of potential intervenors,” who must be

permitted to intervene if: “1) the application was timely filed; 2) the

applicant possesses a substantial legal interest in the case; 3) the

applicant’s ability to protect its interest will be impaired without

intervention; and 4) the existing parties will not adequately 4 represent

the applicant’s interest.” Ohio State Conference of NAACP v. Husted,

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588 F. App’x 488, 490 (6th Cir. 2014) (quoting Blount–Hill v. Zelman,

636 F.3d 278, 283 (6th Cir. 2011); see Grutter v. Bollinger, 188 F.3d 394,

397-98 (6th Cir. 1999) (same). Intervening Defendant Davis, as

registered voter of Wayne County, who lawfully voted by absentee

ballot in the November 3, 2020 presidential general election, meets each

of these requirements for intervention as of right and, alternatively,

intervention by permission.

            1. Intervening Defendant Davis’ Motion is Timely.

      The threshold determination of “whether a motion is timely is a

matter within the sound discretion of the trial court.” NAACP v. New

York, 413 U.S. at 365–66, 93 S.Ct. at 2602–03; Michigan Ass’n for

Retarded Citizens v. Smith, 657 F.2d 102, 105 (6th Cir.1981). This

Court, evaluates “timeliness in the context of all relevant

circumstances, such as the purpose of the motion to intervene, the

length of time the applicant for intervention should have known of his

interest in the case, whether the original parties would be prejudiced by

further delays, whether there are any unusual circumstances which

would bear on granting or denying the motion and to what stage the

lawsuit has progressed.” Michigan Ass’n for Retarded Citizens, 657 F.2d


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at 106; Stotts v. Memphis Fire Dep’t,, 679 F.2d 579, 582 (6th Cir.), cert.

denied, 459 U.S. 969, 103 S. Ct. 297, 74 L.Ed.2d 280 (1982); see also

United Airlines, Inc. v. McDonald, 432 U.S. at 396, 97 S. Ct. at 2470

(court must determine whether the intervenor acted promptly in view of

all the circumstances). Bradley v Milliken, 828 F2d 1186, 1191 (6th Cir.

1987).

      Here, the case is at its earliest stage and is only 5 days old! As

noted, the Plaintiffs filed the instant case on November 25, 2020 and

Intervening Defendant Davis sought concurrence for intervention from

the parties a day later on November 26, 2020. (Exhibit A). No factual

or legal issues have been substantially litigated, no emergency motions

have been filed by an of the parties, a scheduling order has not been

issued, and more importantly, the parties will not be prejudiced by the

intervention. Notably, despite the extraordinary and unprecedented

relief Plaintiffs’ complaint (ECF No. 1) requests, there has been no

expedited briefing schedule granted.

      Intervening Defendant Davis’ instant motion to intervene is

timely and permitting his invention will, in no way, unduly delay or




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prejudice the adjudication of the rights of the original parties. In light of

all the circumstances, Intervening Defendant Davis has acted timely.

      2. Intervening Defendant Davis Has A Substantial Legal
         Interest in The Subject Matter of This Case.

      Intervening Defendant Davis, as a registered voter in Wayne

County, who lawfully voted by absentee ballot in the November 3, 2020

presidential general election, has a substantial legal interest in the

subject matter of this case because Plaintiffs are seeking to void the

certification of votes cast by registered voters in Wayne County who

voted by absentee ballot, which includes Intervening Defendant Davis’

lawfully cast vote. (ECF No. 1). The Sixth Circuit supports a “rather

expansive notion of the interest sufficient to invoke intervention of

right.” Grutter, 188 F.3d at 398 (citation omitted); see also Bradley v.

Milliken, 828 F.2d 1186, 1192 (6thCir. 1987) (“‘[I]nterest’ is to be

construed liberally.”). No specific legal or equitable interest is required,

Grutter, 188 F.3d at 398, and even “close cases” should be “resolved in

favor of recognizing an interest under Rule 24(a),” Mich. State AFL-CIO

v. Miller, 103 F.3d 1240, 1247 (6th Cir. 1997).

      Intervening Defendant Davis’ interests are strong here because

Plaintiffs’ complaint (ECF No. 1) seeks an order from this Court “de-

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certifying” Intervening Defendant Davis’ lawfully cast vote. Plaintiffs’

complaint (ECF No. 1) specifically alleges that votes cast in Wayne

County by absentee ballot should be voided. This directly impacts

Intervening Defendant Davis’ constitutional right to vote and to have

his vote counted.

      As noted, Intervening Defendant Davis, who is a resident and

 registered voter of Wayne County, lawfully voted by absentee ballot in

 the November 3, 2020 general election. Plaintiffs’ complaint directly

 seeks to void Intervening Defendant Davis’ lawfully cast vote.           “A

 citizen’s right to vote free of arbitrary impairment by state action has

 been judicially recognized as a right secured by the Constitution, when

 such impairment resulted from dilution by a false tally; or by

 refusal to count votes from arbitrarily selected precincts; or by

 stuffing of the ballot box.” Baker v Carr, 369 U.S. 186, 207-208 (1962)

 (emphasis supplied). “Every voter’s vote is entitled to be counted

 once. It must be correctly counted and reported.” Gray v Sanders,

 372 U.S. 368, 380 (1963) (emphasis supplied). For “‘the right to have

 one’s vote counted’ has the same dignity as the right to put a ballot in a

 box.” Id. (internal citations omitted).


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      Thus, because Intervening Defendant Davis seeks to protect his

 lawfully cast vote and to ensure it is properly counted and certified,

 Intervening Defendant Davis clearly has a substantial interest in the

 subject matters of this case.

      3. Intervention is Necessary to Protect Intervening
         Defendant Davis’ Interest in this Case.

      To satisfy the third element, “a would-be intervenor must show

only that impairment of its substantial legal interest is possible if

intervention is denied. This burden is minimal.” Miller, 103 F.3d at

1247 (citing Purnell, 925 F.2d at 948); see also Grutter, 188 F3d 394,

399 (6th Cir., 1999) (emphasis added). Accordingly, intervention of right

does not require an absolute certainty that a party’s interest will be

impaired, just a possibility that a party’s interest will impaired. Here,

there is a definite possibility that Intervening Defendant Davis’ interest

will be impaired because a federal decision applying, or interpreting

Michigan election law could affect his constitutional right to vote and to

have his lawfully cast vote count. Additionally, this Court’s ruling in

this case could impair Intervening Defendant Davis’ pending litigation

against the Defendant Secretary of State in the Michigan Court of

Claims, which seeks to hold Defendant Secretary of State in criminal

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 contempt of court for improperly advising the Detroit City Clerk on the

 mass mailing of unsolicited absentee voter applications to registered

 voters in the City of Detroit. See Miller, 103 F.3d at 1245, 1247-48

 (finding impairment of interest where Michigan Chamber of Commerce

 argued that “the precedential effect of an adverse ruling . . . could

 hinder its own efforts to litigate the validity of Michigan’s system for

 regulating campaign finance”).

       Clearly, intervention is proper to protect against any possibility in

 an impairment of Intervening Defendant Davis’ legal interests.

       4. Intervening Defendant Davis’ Interests Are Not
          Adequately Represented by Current Parties.

       As it relates to the fourth element, Intervening Defendant Davis,

 as a registered voter of Wayne County, who lawfully voted by absentee

 ballot in the November 3, 2020 general election, is a party with an

 interest relating to the subject matters litigated in this action whose

 rights cannot be adequately represented by the parties in this matter.

 This burden, again, is minimal to show that the existing parties to this

 litigation inadequately represent his interests. Jordan v. Mich.

 Conference of Teamsters Welfare Fund, 207 F.3d 854, 863 (6th Cir.

 2000). A potential intervenor “need not prove that the [existing parties’]

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 representation will in fact be inadequate, but only that it ‘may be’

 inadequate.” Id. (citations omitted) (emphasis added); see also Davis v.

 Lifetime Capital, Inc., 560 F. App’x 477, 495 (6th Cir. 2014) (“The

 proposed intervenor need show only that there is a potential for

 inadequate representation.”) (citation omitted) (emphasis in original).

       Here, there is potential for inadequate representation. Defendants

 have been bombarded with a multitude of election-related lawsuits filed

 by allies of current U.S. President Donald Trump, as well as from

 concerned voters, including Intervening Defendant Davis. In fact, in

 some of the election-related cases involving Intervening Defendant

 Davis and Defendant Secretary of State, counsel for the Defendants had

 to request additional time to file various briefs due to the enormous

 volume of election-related cases that have been filed against the

 Defendants. Management of such case load requires immediate and

 immense attention and effort on behalf of Defendants’ counsel to

 litigate. Defendants’ counsel do not represent Intervening Defendant

 Davis or have knowledge of facts necessary to represent Intervening

 Defendant Davis’ interests. In fact, as noted, Intervening Defendant

 Davis has numerous pending election-related lawsuits pending in the


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 Michigan Supreme Court, Michigan Court of Claims, and U.S. District

 Courts against the Defendant Secretary of State. This alone, clearly

 illustrates that the Defendants cannot adequately represent

 Intervening Defendant Davis’ interests and certainly, the Plaintiffs

 cannot adequately represent Intervening Defendant Davis’ interests.

       Moreover, Defendants have not filed a motion to dismiss or an

 answer to Plaintiffs’ complaint that indicate their potential defenses. If

 Intervening Defendant Davis is permitted to intervene, Intervening

 Defendant Davis would promptly file a Rule 12(b)(6) motion to dismiss

 and argue that Plaintiffs’ claims violate Intervening Defendant Davis’

 constitutional right to vote and to have his vote counted and certified,

 Plaintiffs’ claims are barred by sovereign immunity under the Eleventh

 Amendment, res judicata, and collateral estoppel.

       Intervening Defendant Davis has clearly satisfied his burden for

 this Court to grant intervention by right in accordance with

 Fed.R.Civ.P. 24(a)(2).

    B. Intervening Defendant Davis Should be Allowed to
       Intervene By Permission Under Fed.R.Civ.P. 24(b).

       Alternatively, Intervening Defendant Davis should be allowed

 permissive intervening under Fed.R.Civ.P. 24(b). The Court may permit

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 intervention by anyone who has “a claim or defense that shares with

 the main action a common question of law or fact.” Fed. R. Civ. P.

 24(b)(1)(B). “In exercising its discretion,” a court “must consider

 whether intervention will unduly delay or prejudice the adjudication of

 the original parties’ rights.” Fed. R. Civ. P. 24(b)(3).

       The interests of justice and judicial economy will undoubtedly be

 served by having all allegations and defenses properly before the Court,

 and, in so doing, the action can more effectively proceed on the merits.

 First, Intervening Defendant Davis’ motion is timely for the reasons

 detailed above in section A(1). The parties were promptly put on notice

 of Intervening Defendant Davis’ intent to intervene as evidenced by the

 November 26, 2020 email to the parties’ counsel. As noted, this case is

 at its earliest stage and no factual or legal issues have been

 substantially litigated. Second, Intervening Defendant Davis shares,

 with the main action, common questions of law and facts. Specifically,

 Intervening Defendant Davis, as a registered voter of Wayne County,

 who lawfully voted by absentee ballot in the November 3, 2020 general

 election, has a substantial interest in ensuring his constitutional right




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 to vote and to have it counted is properly protected. Gray v Sanders, 372

 U.S. 368, 380 (1963).

       This Court “operates within a ‘zone of discretion’ when deciding

 whether to allow intervention under Rule 24(b).” Kirsch v. Dean, 733 F.

 App'x 268, 279 (6th Cir. 2018) (quoting Michigan State AFL-CIO v.

 Miller, 103 F.3d 1240, 1248 (6th Cir. 1997)). “So long as the motion for

 intervention is timely and there is at least one common question of law

 or fact,” this Court has significant leeway in balancing considerations

 “of undue delay, prejudice to the original parties, and any other

 relevant factors.” Michigan State AFL-CIO v. Miller, 103 F.3d 1240,

 1248 (6th Cir. 1997). Rule 24(b) grants the district court discretionary

 power to permit intervention if the motion is timely and if the

 ‘applicant’s claim or defense and the main action have a question of law

 or fact in common.’” Purnell v. City of Akron, 925 F.2d 941, 950 (6th Cir.

 1991) (internal citation omitted) (quoting Fed. R. Civ. P. 24(b)(2)).

       Here, Intervening Defendant Davis has clearly met this burden

 because Intervening Defendant Davis’ defense, which seeks to protect

 his constitutional right to have his lawfully cast vote in the November




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 3, 2020 general election counted, is a “question of law or fact” that is in

 common with the main action. Id.

       Finally, although Intervening Defendant Davis will not be filing a

 “pleading” with this motion in accordance with Fed.R.Civ.P. 24(c), such

 a filing is not necessary considering Intervening Defendant Davis’

 instant motion sets forth with specificity his potential defenses. The

 Sixth Circuit “take[s] a lenient approach to the procedural requirements

 of Rule 24(c),” E.E.O.C. v. Guardsmark, LLC, No. 2:13-cv-15229, 2014

 WL 12724973, at *2 (E.D. Mich. June 5, 2014), and has found a district

 court's denial of a motion to intervene “on the basis that [the

 intervenor] failed to attach a pleading” to be an abuse of discretion,

 Providence Baptist Church v. Hillandale Committee, Ltd., 425 F.3d 309,

 314 (6th Cir. 2005). The court reasoned that “the parties [were] clearly

 on notice as to [the intervenor's] positions and arguments.” Id. The

 same is true here. The parties are clearly on notice as to Intervening

 Defendant Davis’ positions and potential arguments. Id.

                              CONCLUSION

       WHEREFORE, for the foregoing reasons, Intervening Defendant

 Davis prays that this Honorable Court GRANT his emergency motion to


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 intervene as a party defendant pursuant to Fed.R.Civ.P. 24(a)(2), or in

 the alternative, pursuant to Fed.R.Civ.P. 24(b).

 Dated: November 30, 2020           Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
                                    ANDREW A. PATERSON (P18690)
                                    Attorney for Intervening Defendant
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                                    (248) 568-9712


                      CERTIFICATE OF SERVICE

       I, ANDREW A. PATERSON, certify that forgoing document(s) was

 filed and served via the Court's electronic case filing and noticing

 system (ECF) this 30th day of November, 2020, which will

 automatically send notification of such filing to all attorneys and parties

 of record registered electronically.

 Dated: November 30, 2020           Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
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